       Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 1 of 10




                         IN THE UNITED STATES DISTRICT COURT
                          FOR TILE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA                                    Case No. 5:24-cv-00769-XR

                             Plaintiff,

                V.

                                                                              AUG   15 ZOZ4
CARLO S HERRERA AND FUNDCUBE INC.
                                                                         CLERK, U S. DISTRICT COURT
D/B/A FUNDQUBE,                                                          WESTERNDJSTRIC OF TEXAS
                                                                         BY
                              Defendants.                                                    DEPUTY




             PLAINTIFF'S MOTION FOR ALTERNATIVE SERVICE OF PROCESS

Plaintiff Mark Anthony Ortega ("Ortega") files this Motion for Alternative Service of Process,

asking the Court for an order authorizing alternative service of process upon Defendants Carlos

Herrera and Fundcube Inc. D/B/A FundQube ("Defendants") due to difficulties encountered in

traditional service.

                                          INTRODUCTION

        1.       Ortega brought this action for violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seq. ("TCPA"), and the Texas Business and Commercial Code, Chapter 302

("Tex. Bus. & Corn. Code") arising out of Defendants' practices of initiating unwanted and

unsolicited telemarketing calls.

        2.       Despite Plaintiff's diligent efforts, traditional service of process upon Defendants

has proven unsuccessful due to the address being gated along with the presence of an aggressive

dog behind said gate, accompanied by a "beware of dog" sign, creating a hostile environment for

the process server.
      Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 2 of 10




       3.     Therefore, Plaintiff requests this Court to authorize alternative service by posting

the documents to the gate at Defendants' address.

                                  FACTUAL BACKGROUND

       4.     Beginning on or around June 20, 2024, Plaintiff received multiple telemarketing

calls from Defendant FundQube to Plaintiffs cellular telephone, 210-744-XXXX, in violation of

the TCPA and Texas Business & Commercial Code.

       5.     Plaintiff filed his First Amended Complaint in this matter on July 18, 2024.

       6.      On July 27, 2024, Plaintiff retained a private process server to personally serve

Defendant Carlos Herrera at their last known address and FundCube Inc. at its registered agent's

address, both located at 1207 13th ST, Imperial Beach, CA 91932.

       7.      As noted in the attached Exhibits "A" and "B", On July 29, 2024, the process server

attempted service; however, was unable to deliver the documents due to a hostile environment. A

large dog was at the residence, and "beware of dog" images were present, preventing the process

server from safely approaching the residence.

                              ARGUMENT AND AUTHORITIES

       8.      Federal Rule of Civil Procedure 4(e)( 1) permits service of process in accordance

with the law of the state where the court is located or where service is made. Texas Rule of Civil

Procedure 106(b) authorizes alternative service when service through the methods prescribed by

Rule 106(a) has been attempted but unsuccessful. See Tex. R. Civ. P. 106(a), (b).

       9.      In this case, Plaintiff has diligently pursued traditional methods of service, as

evidenced by the Proof of Service documenting the process server's attempts to personally serve

Defendants at their address. Despite these efforts, service was thwarted by the hostile

environment for the process server.
      Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 3 of 10




       10.     This situation presents a justifiable need for alternative service under Rule 106(b).

The obstacles encountered by the process server render traditional service impractical and

potentially dangerous.

       11.     Moreover, Plaintiff proposes alternative service methods reasonably calculated to

provide Defendants with actual notice of this lawsuit:

          a.   Affixation to the Gate at Defendants' Address: This method provides notice

when delivery to a person at the residence is unsuccessful.



                                         CONCLUSION

        12.    For the foregoing reasons, Plaintiff respectfully requests that the Court grant this

Motion for Alternative Service of Process and authorize service upon Defendants through the

following method:

          a.   Affixation of a copy of the Summons, Complaint, and this Order to the gate at

1207 13th ST, Imperial Beach, CA 91932



Dated: August 13, 2024                                Respectfully submitted,

                                                      Mark Anthony Ortega
                                                      Plaintiff ro Se


                                                      By:
                                                      mortegautexas.edtV
                                                      P0 Box 702099
                                                      San Antonio, TX 78270
                                                      Telephone: (210) 744-9663
       Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 4 of 10




                                CERTIFICATE OF SERVICE

I hereby certify that on August 13, 2024, a true and correct copy of the foregoing Plaintiffs

Motion for Alternative Service of Process was served upon Defendant Carlos Herrera via

Certified Mail, Return Receipt Requested, postage prepaid, to the following address:


Carlos Herrera
1207 13th ST,
Imperial Beach CA 91932




                                                     Mark Anthony Ortega
       Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 5 of 10




                                CERTIFICATE OF SERVICE

I hereby certify that on August 13, 2024, a true and correct copy of the foregoing Plaintiffs

Motion for Alternative Service of Process was served upon Defendant FundCube Inc., D/B/AI

FundQube via Certified Mail, Return Receipt Requested, postage prepaid, to the following

address:


FundCube Inc., D/BIA/ FundQube
1207 13th ST,
Imperial Beach, CA 91932




                                                     Mark Anthony Ortega
                  Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 6 of 10
                                                                                    E)(tb              '/I



AO 440 (Rev. 06112) Summons in a Civil Action (Page 2)

Civil Action No.               5:24-cv-00769-XR

                                                            PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Clv. P.4 (1))


     This summons for Canoe Herrera
 was recieved by me on 712712024:

                       I personally served the summons on the indMdual at (place)   on (date) ; or



                   Ileft the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
                   discretion who resides there, on , and mailed a copy to the individual's last known address; or


                   I served   the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
                   of organization); or


                       I returned the summons unexecuted because   Other contact after attempting service at 1207 13th St, Imperial Beach,
                   CA 91932; or

           ii      Other (specify)




           My fees are $0 for travel and $ 75.00 for services, for a total of $ 75.00.


           I   dedare under penalty of perjury that this information is true.



Date:      07/30/2024



                                                                                                        Se,fs (gnus


                                                                                                     Alejandra Salcldo
                                                                                                       Alndneme and f,We


                                                                               602 myra avenue
                                                                               chula vista, CA 91910


                                                                                                        Setve?s addiess




           Additional information regarding attempted service, etc:

           712912024 3:19 PM: I was unable to deliver the documents due to a hostile environment. Also A huge dog was at the
           resIdence and beware of dog Images




                                                                                                                         gT:Tjl        i-
   . I_.                                                                                                                      IIII'iiiII11.I;I
                                                                                                             I   I   I    I                      I   II
               Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 7 of 10


AO 440 (Rev. 06/12) Summons in a CMI Action (Page 2)

Civil Action No.                5:24-cv-00769-XR

                                                             PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed R. CM P.4 (1))



    This summons for FundCube Inc.
 was recieved by me on 7/27/2024:

                    I   personally served the summons on the indMdual at (place) on (date) ; or


                I left the summons at the indMdual's residence or usual place of abode with (name) , a person of suitable age and
                discretion who resides there, on , and mailed a copy to the indMdual's last known address; or


                I       served the summons on (name of indMdual) , who is designated by law to accept service of process on behalf of (name
                of organization); or



                I returned the summons unexecuted because Other contact after attempting service at 1207 13th St, Imperial Beach,
                CA 91932; or

                Other (specify)




        My fees are $0 for travel and $ 75.00 for services, for a total of $ 75.00.


        I   declare under penalty of perjury that this information is true.



Date:   07/30/2024



                                                                                                        Servw's sIgnatu,



                                                                                                    Alelandra Salcldo
                                                                                                       Th*pted name and nie



                                                                               602 myra avenue
                                                                               chula vista, CA 91910


                                                                                                         Servets atWmes




        Additional information regarding attempted service, etc:

        7129/20243:19 PM: I was unable to deliver the documents due to a hostile environment.
      Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 8 of 10




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DiVISION



MARK ANTHONY ORTEGA                                  Case No. 5:24-cv-00769-XR

                            Plaintiff,

              V

CARLO S HERRERA AND FUNDCUBE INC.
D/B/A FUNDQUBE,

                            Defendants.


  FPROPOSED1 ORDER ON PLAINTIFF'S MOTION FOR ALTERNATiVE SERVICE

       CAME ON TO BE CONSIDERED Mark Anthony Ortega's Motion For Alternative

Service and after considering said motion, as well as the supporting Exhibits, the court finds

Plaintiffs attempts to serve Carlos Herrera and Fundcube Inc. D/B/A FundQube ("Defendants")

have been unsuccessful and find the Alternative Service requested in Plaintiffs motion will be

reasonably effective to give Defendants notice of the suit.

       Therefore, the Court GRANTS the motion and authorizes Alternative Service on

Defendants by the following method:

       a.   By Affixation of a copy of the Summons, Complaint, and this Order to the gate at

            1207 13th ST, Imperial Beach, CA 91932
       Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 9 of 10




       The above described method is reasonably effective to give Defendants notice of the suit

and such service shall be deemed effective as of the date of compliance by Plaintiff.


Signed on                                 2024.




                                                            JUDGE PRESIDING
,Mr(<              )r4e-c
Qo          Cd?(

     C1(\     4t4M°     T         7Z7O                                                      T_rn:i   sEEq


                                                                                      Sr krth

                            tIP




                                         ,/          <_'    4'
                                                                                 RECEIVE
                                              i,'-    ,y_                           AUG   I 52o;
                                                                              CLERK US
                                          U.S.cE5Istrjct Clerk's Office              D'STRSr c*
                                          262 West Nueva Street, Room 1-400            DE      L
                                          San Antonio, Texas 78207




     C
                                                                                                            Case 5:24-cv-00769-XR Document 6 Filed 08/15/24 Page 10 of 10
